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 4
     Attorney for Defendant
 5   XUZHENG ZHAO
 6
                               UNITED STATES DISTRICT COURT
 7
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9                                               Cr. No. 2:14-cr-0220-KJM
     UNITED STATES OF AMERICA,
10                                               STIPULATION AND ORDER RE:
                  Plaintiff,                     EXONERATION OF SECURED AND
11                                               UNSECURED BAIL FOR FORMER
          vs.                                    DEFENDANT XUZHENG ZHAO
12   XUZHENG ZHAO,
13                Defendant.
14

15
           The United States of America, through its attorney of
16
     record, Ross Naughton, and former defendant XUZHENG ZHAO (Zhao),
17
     through his attorney, Christopher Haydn-Myer, hereby agree and
18

19   stipulate to the exoneration of the secured and unsecured bail

20   for former defendant Zhao.       The basis for this stipulation is as
21
     follows:
22
           1. Zhao appeared before District Judge Kimberly J. Muller on
23
              May 11, 2016, and he was sentenced. (Doc. 303)
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25         2. Mr. Zhao did not file an appeal, and his time for filing

26            an appeal has lapsed.
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     Zhao’s Stip. Proposed Order
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           3. Counsel for Zhao was recently contacted by Zhiting Luo,
 1

 2            the person that posted their residence as part of Mr.

 3            Zhao’s security bond, and informed that her residential
 4
              property, located at 2725 Maplewood Street, Stockton,
 5
              California 95210, was still being used as secured
 6
              collateral for Mr. Zhao’s release.
 7

 8         4. There is no need for the posted secured and unsecured

 9            bail to remain in effect.
10
           Based on the foregoing, the undersigned parties agree and
11
     stipulate that the secured and unsecured bail on behalf of
12
     former defendant Zhao be exonerated.
13

14   IT IS SO STIPULATED.
15

16
     DATED: May 8, 2017                  PHILLIP A. TALBERT
                                         Acting United States Attorney
17
                                         /s/ Ross Naughton
18                                       Ross Naughton
19
                                         Assistant United States Attorney

20
     DATED: May 8, 2017                  LAW OFFICE OF CHRISTOPHER HAYDN-
21                                       MYER
22
                                         /s/ Christopher Haydn-Myer
23                                       CHRISTOPHER HAYDN-MYER
                                         Attorney for Xuzheng Zhao
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     Zhao’s Stip. Proposed Order
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 1

 2                                        ORDER
 3
           GOOD CAUSE APPEARING and based on the foregoing
 4

 5   stipulation, it is hereby ordered that the secured and unsecured

 6   bail posted on behalf of former defendant Xuzheng Zhao is hereby
 7
     exonerated.
 8
     IT IS SO ORDERED.
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     Dated:     May 26, 2017
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     Zhao’s Stip. Proposed Order
